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                                                               CLERK, U.S. O:STF:,:_::; COURT
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                            UNITED STATES DISTRICT COURT
 8
                           SOUTHERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                       Case No.:     2 0 MJ9 1t 9 3
                                                     COMPLAINT FOR VIOLATION OF
11                               Plaintiff,
            V.
12                                                   Title 21 U.S.C. §§ 952 and 960
                                                      Importation of a Controlled Substance
13   Lisa Renee LITTLE,
                                                     (Felony)
14
                                 Defendant.
15
16
17
18         The undersigned complainant being duly sworn states:

19                                            COUNTl
20
           On or about July 20, 2020, within the Southern District of California, defendant,
21
22 Lisa Renee LITTLE, did knowingly and intentionally import 400 grams and more, to wit:
23   approximately 2.8 kilograms (6.17 pounds), of a mixture or substance containing a
24
     detectable   amount    of    N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl]          propenamide
25
26 (Fentanyl), a Schedule II Controlled Substance, into the United States from a place outside

27 thereof; in violation of Title 21, United States Code, Sections 952 and 960.
28
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                                                COUNT2
 1
 2         On or about July 20, 2020, within the Southern District of California, defendant,
 3
     Lisa Renee LITTLE, did knowingly and intentionally import 500 grams and more, to wit:
 4
     approximately 21.62 kilograms (47.66 pounds) of a mixture and substance containing a
 5
 6 detectable amount of methamphetamine, a Schedule II Controlled Substance, into the
 7
     United States from a place outside thereof, in violation of Title 21, United States Code,
 8
 9 Sections 952 and 960.
10         The complainant states that this complaint is based on the attached Statement of
11
     Facts, incorporated herein by reference.
12
13
14
15                                         ~~
                                           Home!~-::::ns
                                                ecial Agent   eph Rawley

16
17         Sworn and attested to under oath by telephone, in accordance with Federal Rule of

18 Criminal Procedure 4.1, this ~ y of July, 2020.
19
20
21                                       ~~ENEGRO
22                                          U. S. MAGISTRATE JUDGE

23
24
25
26
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                                                   2
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 l   UNIED STATES OF AMERICA
           V.
 2
     Lisa Renee LITTLE
 3
                                    STATEMENT OF FACTS
 4
           This Statement of Facts is based on the personal observations, investigation, and
 5
 6 information furnished to U.S. Homeland Security Investigations Special Agent Joseph
 7
     Rawley.
 8
           On July 20, 2020, at approximately 2:00 p.m., Lisa Renee LITTLE (LITTLE), a
 9

10 United States citizen, presented an expired California driver's license and applied for entry
11
     at the Calexico, California East Port of Entry through the vehicle primary lanes.
12
13
           Customs and Border Protection Officer (CBPO) P. Pan was the primary officer

14 assigned to vehicle lane 2. LITTLE was the driver and sole occupant of a silver 2009
15
     Toyota RAV 4 (Toyota) bearing California license plates. CBPO P. Pan obtained a negative
16
17 customs declaration from LITTLE. LITTLE told CBPO Pan she was returning home to
18 Loma Linda, California, after purchasing a discounted television and groceries in Mexico.
19
     CBPO Pan thought it was odd for LITTLE to travel the distance from Loma Linda,
20
21 California to Mexicali, Mexico for a discounted television, therefore, CBPO Pan opted to
22 refer LITTLE and the Toyota to vehicle secondary for further inspection.
23
           In secondary inspection, the Secondary Officer, CBPO F. Mendez, asked LITTLE
24
25 the purpose of her travel to Mexico and she said she came down to buy things for her house.

26 Through the rear window of the vehicle, CBPO Mendez saw a few towels and a television.
27
     CBPO Mendez asked LITTLE if the items in the back of her car were what she purchased
28
                                                  3
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     and she said it was. CBPO Mendez asked LITTLE if there was anything else she was
 1
 2 bringing back from Mexico and she said she did not have anything else. CBPO Mendez
 3
     asked LITTLE how long she was in Mexicali and if she was the owner of the Toyota.
 4
     LITTLE said she was only in Mexicali for a few hours and that the Toyota belonged to her
 5
 6 husband.
 7
           CEO Jones utilized his Human/Narcotics Detection Dog (HNDD) in the Vehicle
 8
 9 Secondary lot to screen the Toyota. CEO Jones advised his HNDD alerted to the Toyota.
10 After the HNDD alerted to the Toyota, LITTLE was escorted to the vehicle secondary
11
     office for pat down. The pat down was conducted by CBPO Rascon and witnessed by
12
13 CBPO Villalobos. The pat down of LITTLE yielded no investigative findings.
14         A search of the Toyota by CBPO Rubio and Mendez revealed a strong odor of glue
15
     coming from the rear cargo area. A further search of the Toyota by CBPO Moreno led to
16
17 the discovery of a non-factory compartment in the cargo area. CBPO Moreno removed
18 packages from the Toyota through an access plate in the rear floor. CBPO Moreno located
19
     twenty-five (25) packages containing a crystal-like substance and four (4) additional
20
21 packages in the non-factory compartment of the Toyota. Samples from the twenty-five (25)

22 packages of the crystal-like substance were field tested and tested positive for the properties
23
     ofmethamphetamine. Samples of the four (4) additional packages were field tested, which
24
25 tested positive for the properties of fentanyl.            The combined weight of the

26 methamphetamine was 21.62 kilograms (47.66 pounds). The combined weight of the
27
     fentanyl was 2.8 kilograms (6.17 pounds).
28
                                                  4
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           LITTLE was advised of his Constitutional Rights per Miranda. LITTLE
 1
 2   acknowledged her Miranda rights and agreed to answer questions without an attorney
 3
     present. During the interview, LITTLE admitted to smuggling the drugs to make money.
 4
     LITTLE said she was going to be paid $3,000 to smuggle the drugs into the United States.
 5
 6 LITTLE admitted to successfully smuggling drugs into the United States approximately
 7
     four to five days prior.
 8
           LITTLE was placed under arrest and charged with a violation of Title 21, United
 9

10 States Code sections 952 and 960 for Importation of a Controlled Substance and issued a
11
     Notice to Appear dated November 6, 2020 at 8:00 a.m.
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